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                                     United States District Court
                                            OFFICE OF THE CLERK

                                      Western District of Louisiana

                                             October 7, 2008
  800 Lafayette Street, Suite 2100                                           300 Fannin Street, Suite 1167
  Lafayette, LA 70501                                                          Shreveport, LA 71101-3083
  1-866-323-1101                                                                          1-866-323-1101




 Clerk of Court
 Joan L. Carraway
 26th JDC Judicial District Court
 Bossier Parish Parish Courthouse
 P. O. Box 430
 Benton, LA 71006-0430

          In re: Civil Action No. 5:08-cv-0280
                 Your Case No. 125,481 - A
                 Jimmy Choate vs. Jose T Alcorta-Pavon, et al

 Dear Madam:

        Please be advised that the above captioned matter has been remanded to your Court. We
 enclose herewith certified copies of our docket entries and the Judgment or Order to Remand.

         The official court record for the Western District of Louisiana is the electronic case filing
 system, CM/ECF. Our website is https://ecf.lawd.uscourts.gov; counsel may access this database
 to obtain any pleadings you require.

          Please acknowledge receipt on the enclosed copy of this letter.

        For questions regarding this document or transmission, please call our CM/ECF help desk
 at 1-866-323-1101.

          THUS DONE October 7, 2008.

                                                     ROBERT H. SHEMWELL
                                                     CLERK OF COURT


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